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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                Plaintiff and Counterclaim
                Defendant,
                                                  Case No. 1:19-CV-11438-PBS
       v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                Defendant and Counterclaim
                Plaintiff.




               OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S
                           NOTICE OF FILING

       Omilia Natural Language Solutions, Ltd. (“Omilia”), hereby submits to the Court

the slides Omilia used at the Claim Construction Hearing held on July 10, 2020. Omilia

submitted these slides to the Court by email on July 9, 2020, at the request of the Court.


 Dated:     July 15, 2020                         Respectfully Submitted,



                                                  By /s/ Daniel S. Sternberg______

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                            CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to

electronic service are being served on July 15, 2020 with a copy of this document via the

Court’s CM/ECF system per Local Rule CV-5.4 (c).

                                                    /s/ Daniel S. Sternberg
                                                    Daniel S. Sternberg




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Markman Hearing Slides
Nuance Communications, Inc., v.
Omilia Natural Language Solutions, LTD., Case No. 1:19-cv-11438-PBS

Presented by




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      Introductory Remarks

       Presentation by Omilia
  No. Case No. 1:19-cv-11438-PBS
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      District of Massachusetts


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            Patents Asserted by Nuance
The 6,999,925 Patent                                         The 8,532,993 Patent




                 ’925 Patent filed by IBM                                      ’993 Patent filed by AT&T
                    on Nov. 13, 2001                                                on Jul. 2, 2012

                 ’925 Patent acquired by                                        ’993 Patent acquired by
                Nuance on Dec. 31, 2008                                        Nuance on Dec. 14, 2016



                                                                                                           3
 The ’925 Patent: Create a New Speech Recognizer By
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Adapting an Existing One With Updated Phonetic Contexts
    The 6,999,925 Patent
                                            METHOD AND APPARATUS FOR PHONETIC
                                            CONTEXT ADAPTATION FOR IMPROVED SPEECH
                                            RECOGNITION

                                                                        ABSTRACT
                                            The present invention provides a computerized method and
                                            apparatus for automatically generating from a first
                                            speech recognizer a second speech recognizer which can
                                            be adapted to a specific domain. The first speech recognizer
                                            can include a first acoustic model with a first decision
                                            network and corresponding first phonetic contexts. The first
                                            acoustic model can be used as a starting point for the
                                            adaptation process. A second acoustic model with a second
                                            decision network and corresponding second phonetic
                                            contexts for the second speech recognizer can be
                                            generated by re-estimating the first decision network and
                                            the corresponding first phonetic contexts based on
                                            domain-specific training data.

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The Specific Method Described In The ’925 Patent

      1. A computerized method of automatically generating from a first speech 1
      recognizer a second speech recognizer, said first speech recognizer comprising a
      first acoustic model with a first decision network and corresponding first phonetic
      contexts, and said second speech recognizer being adapted to a specific domain, said
      method comprising:
      based on said first acoustic model, generating a second acoustic model with a
      second decision network and corresponding second phonetic contexts for said second
                                                                                          2
      speech recognizer by re-estimating said first decision network and said
      corresponding first phonetic contexts based on domain-specific training data,
      wherein said first decision network and said second decision network utilize a
      phonetic decision free to perform speech recognition operations, wherein the number
      of nodes in the second decision network is not fixed by the number of nodes in the
      first decision network, and wherein said re-estimating comprises partitioning said
      training data using said first decision network of said first speech recognizer.

      ’925 Patent at Claim 1 (emphasis added) (Claim 27 differs)

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                           Elements of an Acoustic Model

                                Sample Decision Network for Bags or Bats

Decision Tree   Decision Tree     Decision Tree
                                                                                Decision Tree for “s”
   for “b”         for “a”         for “g” or “t”

                                                                                                 Nodes Tied to Phonetic
     B               A             G          T                          S                        Contexts or Question:
                                                                                                      For example --
                                                                                                   Before “S” is a “G”?
     ...             ...                ...                                                   If yes, go left, if no, go right.


                                                            GS                      TS
                                                                                                   Leaf Node (red) –
                                                                                                     e.g. Bi-phone


                                                                                                 Probability Distribution
                                                                                                     or Gaussian




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Adaptation of an Acoustic Model Based on New Training Data

     1.   Modify the existing decision network and phonetic contexts

          a.   Remove phonetic contexts for example, if no longer needed
          b.   Add new phonetic contexts based on new training data

     2.   Modify the model (HMM) parameters / probabilities (doesn’t change the
          phonetic contexts)

  For example:
  • Take a general English speech recognizer, and use bank specific training data to create
     an English banking model
      • Might just remove the non-banking phonetic contexts
      • Might need to add phonetic contexts given unique words used in bank setting
  • Make a user-specific recognizer. Start with a general English recognizer and use user
     specific training data. Only update the model probabilities based on the specific user

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The Specific Method Described In The ’925 Patent
      12. The method of claim 6, wherein said first speech recognizer is a speech
      recognizer of at least a first language and said domain specific training data relates to
    3 a second language and said second speech recognizer is a multi-lingual speech 4
      recognizer of said second language and said at least first language.
      ’925 Patent at Claim 12 (emphasis added) (simliar elements in Claim 27)




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               “Second Language:” Proposed Constructions

   Claim Term (Purple) in                 Asserted               Omilia’s Proposed               Nuance’s Proposed
          Context                          Claims                  Construction                    Construction
“wherein said first speech            925: 12, 25              “a second language not            “a language other than
recognizer is a speech                                         present/incorporated in           the first language of the
recognizer of at least a first                                 the first speech                  first domain/speech
language and said domain                                       recognizer”                       recognizer”
specific training data relates to
a second language and said
speech recognizer is a
multilingual speech recognizer
of said second language and
said at least first language.”




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            “Second Language:” Proposed Constructions

  Claim Term (Purple) in            Asserted               Omilia’s Proposed               Nuance’s Proposed
         Context                     Claims                  Construction                    Construction
“wherein the first domain    925: 27                     “a second language not            “a language other than
comprises at least a first                               present/incorporated in           the first language of the
language, wherein the second                             the first speech                  first domain/speech
domain comprises at least a                              recognizer”                       recognizer”
second language, and wherein
the second speech recognizer
is a multi-lingual speech
recognizer”




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                      “Second Language” Means
A Second Language Not Present/Incorporated in the First Speech Recognizer

 wherein said first speech recognizer is a speech recognizer of at least a first language and said domain specific
 training data relates to a second language and said speech recognizer is a multilingual speech recognizer of
 said second language and said at least first language
                                                                                    ’925 patent at 11:59-64 (emphasis added)


The dispute here is whether the second speech recognizer must be
able to recognize something the first recognizer cannot

Omilia: Claims and specification make clear that the second speech
recognizer must be able to recognize a new additional language not
present in the first recognizer

Nuance: Second speech recognizer need only recognize a language
other than the “first” language of the first speech recognizer even if
that other language is present in and recognized by the first recognizer
                                                                                                                               11
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                      “Second Language” Means
A Second Language Not Present/Incorporated in the First Speech Recognizer




   Omilia’s proposed construction is supported by:

   1.   The claim language

   2.   The specification

   3.   The prosecution history




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Languages May Share Some Common Aspects




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A Language May Contain Loan Words




                                taxi
                                 ok
                           bye bye
                           tiramisu




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 Loan Words are Subject to the
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Phonetic Context of the Language




           jalapeño v. jalapeno




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Languages Share Some But Not All Aspects




                      common phonemes
 Language A                 loan words
                                                      Language B




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Omilia’s Construction is Necessary To Give Meaning to the Claims
                                                    Claim 27
A computerized method of generating a second speech recognizer comprising the steps of:
  Identifying a first speech recognizer of a first domain comprising a first acoustic model with a first
  decision network and corresponding first phonetic contexts;
  Receiving domain-specific training data of a second domain; and
  Based on the first speech recognizer and the domain-specific training data, generating a second
  acoustic model of said first domain and said second domain comprising a second acoustic model
  with a second decision network and corresponding second phonetic contexts, wherein the first
  domain comprises at least a first language, wherein the second domain comprises at least a
  second language, and wherein the second speech recognizer is a multi-lingual speech
  recognizer.                                                           ’925 patent at 14:8-23 (emphasis added)


       Defines the first domain as comprising at least a first language.
       Distinguishes the second domain as comprising at least a second language.
       First domain does not include the second language.
       Second speech recognizer encompasses acoustic models for first and second domains.

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                         Case 1:19-cv-11438-PBS Document 141 Filed 07/15/20 Page 20 of 52
Omilia’s Construction is Necessary To Give Meaning to the Claims

                              Claim 12 (representative of claim 25)
The method of claim 6 [of automatically generating from a first speech recognizer a second speech
recognizer], wherein said first speech recognizer is a speech recognizer of at least a first
language and said domain specific training data relates to a second language and said second
speech recognizer is a multi-lingual speech recognizer of said second language and said at least
first language.
                                                                                    ’925 patent at 11:59-64 (emphasis added)




   Second domain is a second language not included in the first domain and added to the
   speech recognizer.




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     Specification MakesCase 1:19-cv-11438-PBS Document 141 Filed 07/15/20 Page 21 of 52
                          Clear       That Second Domain (Language) Must be a New
                Additional Domain (Language) Not Present in the First


Citation   Statement
2:47-56    “In contrast to state of the art approaches, the present invention simultaneously allows for the creation of new
           phonetic contexts that need not be present in the original training material. Thus, rather than create a
           domain specific inventory from scratch according to the state of the art, which would require the collection of a
           huge amount of domain-specific training data, according to the present invention, the inventory of the general
           recognizer can be adapted to a new domain based on a small amount of adaptation data.”
6:11-20    “The invention disclosed herein can utilize the already existing phonetic context inventory of a (general purpose)
           speech recognizer and some small amount of domain specific adaptation data for both the emphasis of dominant
           contexts and the creation of new phonetic contexts that are relevant for a given domain.”
8:23-30    “[T]he method of the present invention simultaneously allows the creation of new phonetic contexts that need
           not be present in the original training material. Rather than create a domain specific HMM inventory from
           scratch according to the state of the art, which requires the collection of a huge amount of domain-specific
           training data, the present invention allows the adaptation of the general recognizer’s HMM inventory to a
           new domain based on a small amount of adaptation data.”
9:19-24    “If different languages share a common phonetic alphabet, the method also can be used for the incremental and
           data driven incorporation of a new language into a true multi-lingual speech recognizer . . . .”



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 The Prosecution History Supports Omilia’s Construction


“Waibel et al. discloses the creation of a second speech recognizer from a first recognizer
[and] adapts the second speech recognizer for a ‘new, smaller domain’ (column 6, lines 37-
39). Therefore, creating from a first speech recognizer of a first language, with training data
from a second language, a second recognizer that is able to recognize at least the first
language and the second language is not disclosed in the prior art of record and would not
have been obvious to one of ordinary skill in the art at the time of the invention.”
                                             ‘925 File History, Nov. 3, 2004 Office Action, at 8 (emphasis added)


“[T]he second speech recognizer generated from the first recognizer and the domain-specific
data has a larger domain than the first speech recognizer.”
                                          ‘925 File History, Feb. 3, 2005 Applicant Response (emphasis added).



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Nuance Admits The Second Speech Recognizer Must Be Different From the First


 “Omilia argues that, ‘[i]f the first speech recognizer already recognized the second language,
 it would be no different from the newly-generated speech recognizer.’ Nuance does not
 necessarily disagree that the resulting speech recognizer must be different from the
 first . . . .”
                                                       Nuance’s Responsive Brief at 11 (citation omitted) (emphasis added)



 Nuance’s construction: second recognizer could recognize everything recognized by the first
 and only that.

 Omilia’s construction: captures the fact that the second recognizer is different from the first
 because it can recognize a second language that the first recognizer could not.




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  “Multi-Lingual Speech Recognizer:” Proposed Constructions

   Claim Term (Purple) in                 Asserted               Omilia’s Proposed               Nuance’s Proposed
          Context                          Claims                  Construction                    Construction
“wherein said first speech            925: 12, 25              “a speech recognizer              “a speech recognizer
recognizer is a speech                                         incorporating at least            with an acoustic model
recognizer of at least a first                                 the first language and            that covers sound units
language and said domain                                       adding the second                 of multiple languages”
specific training data relates to                              language (i.e., not
a second language and said                                     present/incorporated in
speech recognizer is a                                         the first speech
multilingual speech                                            recognizer)”
recognizer of said second
language and said at least first
language.”



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  “Multi-Lingual Speech Recognizer:” Proposed Constructions

  Claim Term (Purple) in             Asserted               Omilia’s Proposed               Nuance’s Proposed
         Context                      Claims                  Construction                    Construction
“wherein the first domain        925: 27                  “a speech recognizer              “a speech recognizer
comprises at least a first                                incorporating at least            with an acoustic model
language, wherein the second                              the first language and            that covers sound units
domain comprises at least a                               adding the second                 of multiple languages”
second language, and wherein                              language (i.e., not
the second speech recognizer                              present/incorporated in
is a multi-lingual speech                                 the first speech
recognizer”                                               recognizer)”




                                                                                                                      23
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          A “Multi-Lingual        Speech Recognizer” Must Recognize
a Second Language Not Present/Incorporated in the First Speech Recognizer

 wherein the first domain comprises at least a first language, wherein the second domain comprises at least a
 second language, and wherein the second speech recognizer is a multi-lingual speech recognizer”
                                                                           ’925 patent claim at 11:59-64 (emphasis added)


The dispute: whether a speech recognizer must recognize more than
just some sound units common to a first and second language to be a
“multi-lingual speech recognizer”

Omilia: Claims and specification make clear that a multi-lingual speech
recognizer must be able to recognize a new additional language not
present in the first recognizer

Nuance: A speech recognizer need only recognize “sound units”
common to two languages to be a “multi-lingual speech recognizer”
                                                                                                                            24
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Omilia’s Construction is Necessary To Give Meaning to the Claims

                                                       Claim 27
A computerized method of generating a second speech recognizer comprising the steps of:
   Identifying a first speech recognizer of a first domain comprising a first acoustic model with a first decision
   network and corresponding first phonetic contexts;
   Receiving domain-specific training data of a second domain; and
   Based on the first speech recognizer and the domain-specific training data, generating a second acoustic
   model of said first domain and said second domain comprising a second acoustic model with a second
   decision network and corresponding second phonetic contexts, wherein the first domain comprises at
   least a first language, wherein the second domain comprises at least a second language, and wherein
   the second speech recognizer is a multi-lingual speech recognizer             ’925 patent at 14:8-23 (emphasis added)

                                   Claim 12 (representative of claim 25)
The method of claim 6 [of automatically generating from a first speech recognizer a second speech recognizer],
wherein said first speech recognizer is a speech recognizer of at least a first language and said domain specific
training data relates to a second language and said second speech recognizer is a multi-lingual speech
recognizer of said second language and said at least first language.
                                                                                        ’925 patent at 11:59-64 (emphasis added)

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Specification Makes    Clear That A Multi-Lingual Speech Recognize Can
 Recognize a First Language and a New Additional Second Language




“If different languages share a common phonetic alphabet, the method
also can be used for the incremental and data driven incorporation of a
new language into a true multi-lingual speech recognizer that
shares HMMs between languages.”
                                                ‘925 patent 9:19-23 (emphasis added)


By focusing on “sound units,” Nuance’s proposed construction
reads “language” out of “multi-lingual.”



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Languages Share Some But Not All Aspects




                      common phonemes
 Language A                 loan words
                                                      Language B




                                                                          27
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                           Nuance’s Extrinsic Evidence


“[A] multi-lingual speech recognizer for English and French would
include some phonemes (sound units) that are shared between the two
languages, like /a/, /u/, and /f/, but would typically also include sound
units that are used in one language but not the other. In the case of
English and French, for example, the recognizer would include the English
phoneme /θ/ (the first consonant sound in “thief”), which is not used in
French, as well as the French phoneme /œ/ (the initial vowel in “oeuf”), which
is not used in English.”
                                                                 Declaration of Karen Livescu ¶ 46 (emphasis added)




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“Generating a Second Acoustic Model”

           Presentation by Omilia
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                              Proposed Constructions

  Claim Term (Purple) in              Asserted               Omilia’s Proposed               Nuance’s Proposed
         Context                       Claims                  Construction                    Construction
“based on the first speech        925: 27                  “generating a second              plain and ordinary
recognizer and the domain-                                 acoustic model”                   meaning
specific training data,                                    requires “re-estimating
generating a second acoustic                               said first decision
model of said first domain and                             network and said
said second domain comprising                              corresponding phonetic
a second acoustic model with a                             contexts”
second decision network and
corresponding second phonetic
contexts”




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            “Generating a Second Acoustic Model”
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          Requires Re-estimation of Phonetic Contexts

based on the first speech recognizer and the domain-specific training data, generating a
second acoustic model of said first domain and said second domain comprising a second
acoustic model with a second decision network and corresponding second phonetic
contexts                                                         ’925 patent at 14:15-20 (emphasis added)



What does claim 27 mean by “generating a second acoustic model”?
  Omilia: Generating by “re-estimating said first decision network and
  said corresponding phonetic contexts” as described by the inventors
      as their invention and distinct from other modes of generating
                             acoustic models
                                                        OR
                       Nuance: No definition, i.e. plain meaning

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         Nuance’s Plain Meaning Construction for
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     “Generating a Second Acoustic Model” Is Incorrect
1.   “Plain” meaning renders the term meaningless; no definition

2.   Potentially covers any “generating” of a second acoustic model,
     independent of whether the applicants here invented it:

     A.   Contrary to the specification and the inventors’ representations that other
          generation forms are not their invention and what is their invention

     B.   Renders claims invalid – no description or enablement supporting it

     C.   Based on extrinsic evidence, not the intrinsic record in violation of the law

3.   Violates the core quid pro quo of patents – you get a patent for
     what it is you disclose; cannot change that during litigation
                                                                                          32
            “Generating a Second Acoustic Model”
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          Requires Re-estimation of Phonetic Contexts
Law is clear that Omilia’s construction is correct -- generating by “re-
estimating said first decision network and said corresponding phonetic
contexts”:
   1.   Specification defines “generation” by re-estimation of first
        phonetic contexts as the “invention”

   2.   Specification distinguishes this type of “generating acoustic
        models” from other known generating techniques in the prior art

   3.   Context of claim and prosecution confirm claim 27 concerns
        “generation” by re-estimation of the first phonetic contexts

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Omilia’s Construction is Necessary To Give Meaning to the Claim

                                                   Parts of Claim 27
    identifying a first speech recognizer of a first domain comprising a first acoustic model with
    a first decision network and corresponding first phonetic contexts;
    receiving domain-specific training data of a second domain; and
  1 based on the first speech recognizer and the domain-specific training data, generating a                    2
    second acoustic model of said first domain and said second domain comprising a second
    acoustic model with a second decision network and corresponding second phonetic
    contexts, wherein the first domain comprises at least a first language, wherein the second
    domain comprises at least a second language, and wherein the second speech recognizer
    is a multi-lingual speech recognizer.                              ’925 patent at 14:15-23 (emphasis added)


     1 Without “by re-estimating said first decision network and said corresponding first phonetic
       context,” claim provides no explanation as to what it means to be “based on the first
       speech recognizer”

     2 Without “re-estimating…phonetic contexts” no way to add a “second language” –
       additional language requires new language-specific phonetic contexts

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                    Specification Defines the Invention as
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                       Adapting the Phonetic Context
Orthogonally to these previous approaches, the present invention focuses on the re-estimation of phonetic
contexts, or-in other words-the adaptation of the recognizer’s sub-word inventory to a special domain. Whereas in
any speaker adaptation algorithm, as well as in the above mentioned documents of V. Fischer et al., the phonetic
contexts once estimated by the training procedure are fixed, the present invention utilizes a small amount of
upfront training data for the domain specific insertion, deletion, or adaptation of phones in their respective context.
Thus re-estimation of the phonetic contexts refers to a (complete) recalculation of the decision network and its
corresponding phonetic contexts based on the general speech recognizer decision network.
                                                                                             ’925 patent at 6:66-7:12 (emphasis added)

The invention disclosed herein can utilize the already existing phonetic context inventory of a (general purpose)
speech recognizer and some small amount of domain specific adaptation data for both the emphasis of dominant
contexts and the creation of new phonetic contexts that are relevant for a given domain. This is achieved by using
the speech recognizer's decision network and its corresponding phonetic contexts as a starting point and by re-
estimating the decision network and phonetic contexts based on domain-specific training data.
                                                                                                 ’925 patent at 6:11-20 (emphasis added)

   See also 7:37-51, 8:14-30; Title (“Method and Apparatus for phonetic context adaptation
    for improved speech recognition”)
   Re-estimation of the first phonetic contexts also described as the invention in the:
       Summary of the invention (2:31-56)
       Abstract


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               Specification Distinguished its Generation from
                                  Case 1:19-cv-11438-PBS Document 141 Filed 07/15/20 Page 38 of 52


              Different Prior Art Generation of Acoustic Models
       Repeatedly distinguishes its adapting of the first phonetic contexts from other ways
        to generate or adapt acoustic models:
Citation    Definitional Statement
2:31-56     summary of the invention; the method of preserving and adding new phonetic contexts “in contrast to the prior art”
3:41-5:26   describing the known methods for generating speech recognizers “from scratch” including “bootstraping”;
            distinguished in summary of invention (2:31-56; also 8:14-30) from the inventions’ adaptation of phonetic contexts
6:32-46     admitting that adaptation of acoustic model (HMM) parameters were known and distinguishing that prior art from
            changing the “phonetic contexts” (i.e. what the patent describes as the invention)
6:66-7:17   distinguishing the “adaptation” of the patent from what was known because it is a re-estimation of the decision
            network and phonetic contexts
8:14-30     Again distinguishing its adaptation from the known manners to generate new acoustic models because it
            preserves the original phonetic contexts and can add phonetic contexts (referencing 5:29-66)


       Exactly why the term must be construed as Omilia proposes – cannot now claim an
        interpretation at odds with what is distinguished in the specification
       Nuance presented no response to this in their briefing

                                                                                                                              36
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    No Other “Generating” Described as Part of the Invention
   Generation by re-estimation, starting with existing
    phonetic context and adapting or re-estimating them, is
    what provides the alleged benefits of the patent: save time
    and money                            2:44-56; 6:11-31; 8:14-40




   Only type of “generation” described in specification as its
    invention is “by re-estimation of the first decision network
    and corresponding phonetic contexts”
                                       Fig. 1, step 4; 7:62-8:10 (describing the re-estimation process)



   Other manners of adaptation discussed and distinguished
    from the present invention

         Adjusting HMM parameters (6:31-45)




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                        Specification Is Dispositive Here

“[T]he specification `is always highly relevant to the claim construction analysis.
Usually, it is dispositive; it is the single best guide to the meaning of a disputed
term.'“                                           Phillips v. AWH Corp., 415 F.3d 1303,1315 (Fed. Cir. 2005)



Repeated descriptions of something as the present invention is definitional, as “[t]he
public is entitled to take the patentee at his word . . ..”
                                           Honeywell Intern., Inc. v. ITT Industries, Inc., 452 F. 3d 1312, 1318 (Fed. Cir. 2006)
                                              Pacing Techs. LLC v. Garmin Int’l, Inc., 778 F.3d 1021, 1024-25 (Fed. Cir. 2015)
                                     Rembrandt Patent Innovations, LLC v. Apple, Inc., 716 F. App’x 965, 972 (Fed. Cir. 2017)
"[W]here the specification makes clear that the invention does not include a
particular feature, that feature is deemed to be outside the reach of the claims of the
patent, even though the language of the claims, read without reference to the
specification, might be considered broad enough to encompass the feature in
question.”
                                                                                 Honeywell at 1320; Pacing Techs. at 1024-25
                                     SciMed Life Sys. v. Advanced Cardiovascular Sys., 242 F.3d 1337, 1341 (Fed.Cir. 2001)


                                                                                                                                    38
             Prosecution History Also Confirms
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 Generating by Re-estimation of the First Phonetic Contexts
  Applicants have also added new independent claim 28 and new dependent claims 30-32. These
1 claims emphasize the subject matter that is indicated as allowable in the Office Action.
  Specifically, the new claims emphasize that the second speech recognizer generated from the first
  speech recognizer and the domain-specific data has a larger domain than the first speech recognizer.
2 These claims are supported by page 11, lines 8-15 and by previously claims 1, 13, 15 and 27.
3 No new matter has been added as a result of these amendments.         Feb. 3, 2005 Remarks, D.I. 84-5 at 11 (emphasis added)



   1   Allowable subject matter required “all the limitations” of claim 13,
       including “by re-estimation of the first decision network and phonetic
       contexts” from claim 1:
   Claims 13 and 27 are objected to as being dependent upon a rejected base claim, but would be
   allowable if rewritten in independent form including all of the limitations of the base claim and any
   intervening claims.                                                    Nov. 13, 2004 Office Action, D.I. 84-3 at 9-10 (emphasis added)


   2   Support was exclusively from claims with generation by re-estimation
   3   No new matter was added – meaning no other forms of generation
                                                                                                                                            39
            Prosecution History Also Confirms
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Generating by Re-estimation of the First Phonetic Contexts

Applicant further describes the “invention” as the modification of acoustic or
phonetic contexts from the first speech recognizer, i.e. re-estimation

Prior to addressing the rejection to the claims, a brief review of the Applicant’s claimed invention may be
helpful. According to the Applicants’ claimed invention a first speech recognizer and domain-specific data can
be combined to generate a second speech recognizer. The first speech recognizer can include a first decision
network and its corresponding phonetic content. The second speech recognizer can include a second decision
network and corresponding phonetic content. The structure and number of nodes within the second decision
network can be different from the structure and number of nodes of the first decision network. More
specifically, the Applicants’ invention can identify new acoustic contexts where needed, and can introduce an
appropriate number of new context-dependent HMMs or HMM states (based on, for example, a split-and-
merge procedure with domain or data specific thresholds).
                                                                        Feb. 3, 2005 Remarks, D.I. 84-5 at 11 (emphasis added)




                                                                                                                                 40
Omilia’s Construction Aligns All of the Independent Claims
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        with the Invention Described in the Patent
PODS case cited by Nuance controlling. Claim 27 must have same meaning
as the generation in claim 1.  PODS Inc. v. Porta Stor Inc., 484 F.3d 1359, 1366-67 (Fed. Cir. 2007)


                                 Part of Claim 27 (at issue)
 based on the first speech recognizer and the domain-specific training data, generating a
 second acoustic model of said first domain and said second domain comprising a second
 acoustic model with a second decision network and corresponding second phonetic
 contexts…                                                        ’925 patent at 14:15-20 (emphasis added)


                        Part of Claim 1 (representative of all other claims)
 based on the first speech recognizer, generating a second acoustic model with a second
 acoustic model with a second decision network and corresponding second phonetic
 contexts for said second speech recognizer by re-estimating said first decision network
 and said corresponding first phonetic contexts based on domain-specific training
 data…                                                         ’925 patent at 10:48-53 (emphasis added)

                                                                                                             41
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   “Automatically Generate”

       Presentation by Omilia
  No. Case No. 1:19-cv-11438-PBS
     United States District Court
      District of Massachusetts


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                               Proposed Constructions

  Claim Term (Purple) in               Asserted               Omilia’s Proposed               Nuance’s Proposed
         Context                        Claims                  Construction                    Construction
“A computerized method of          925: 1, 2                “generate/ing by a                “Generate/ing, at least
automatically generating from                               computer without                  in part by a computer”
a first speech recognizer a                                 human intervention”
second speech recognizer, . . .
Said method comprising:”

“[Machine-readable storage with 925: 14, 15
a computer program] to
automatically generate from a
first speech recognizer a
second speech recognizer, . . .
Said machine-readable storage
causing the machine to perform
the steps of:”
                                                                                                                        43
               “Automatically Generating” Means
                      Case 1:19-cv-11438-PBS Document 141 Filed 07/15/20 Page 46 of 52


             Generating Without Human Intervention

A computerized method of automatically generating from a first speech recognizer a
second speech recognizer, . . . Said method comprising:
                                                                                 ’925 patent at 10:15-20 (emphasis added)


The dispute here is how much of the generation of the speech
recognizer is performed by a computer vs. a human to be “automatic”
     Omilia: Entire generation must be automatic (“without human
intervention”) consistent with the claim language, common meaning of
                 “automatically” and the specification
                                   OR
   Nuance: Partly generated by a computer (“at least in part”) which
                 renders “automatically” meaningless


                                                                                                                            44
               “Automatically Generating” Means
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             Generating Without Human Intervention
Law is clear that Omilia’s construction is correct – “automatically
generating” means generating “without human intervention”:
   1.   Context of claim makes clear that “automatically” means more
        than just a part is computerized, the entire method here is
        “without human intervention”

   2.   “Automatically” typically understood and construed as “without
        human intervention” – even Nuance’s cases confirm this

   3.   Specification is consistent; does not describe human intervention
        but a computerized generation

                                                                                       45
                              Case 1:19-cv-11438-PBS Document 141 Filed 07/15/20 Page 48 of 52

Omilia’s Construction Necessary To Give Meaning to the Claim
                               Claim 1 (representative of claim 14 as well)
  A computerized method of automatically generating from a first speech recognizer a second
  speech recognizer, said first speech recognizer comprising a first acoustic model with a first decision
  network and corresponding first phonetic contexts, and said second speech recognizer being
  adapted to a specific domain, said method comprising:
  based on said first acoustic model, generating a second acoustic model with a second decision
  network and corresponding second phonetic contexts for said second speech recognizer by re-
  estimating said first decision network and said corresponding first phonetic contexts based on
  domain-specific training data, wherein said first decision network and said second decision network
  utilize a phonetic decision free to perform speech recognition operations, wherein the number of
  nodes in the second decision network is not fixed by the number of nodes in the first decision
  network, and wherein said re-estimating comprises partitioning said training data using said first
  decision network of said first speech recognizer.                        ’925 patent at 10:42-61 (emphasis added)

   1 “Automatically” in the limiting preamble – describes the entire generation method claimed
   2 Claims already require a computer; “automatically” is more, its what the computer does
   3 Generation of a second speech recognizer is what is automatic but also lists certain
     required steps regarding the acoustic model
                                                                                                                      46
                           Law is Clear that “Automatically” Means
                                       Case 1:19-cv-11438-PBS Document 141 Filed 07/15/20 Page 49 of 52


                                “Without Human Intervention”
          Source                           Term                                                  Explanation
CollegeNet, Inc. v.             “automatically “inserting”     Affirmed district court that “automatically” meant, “once initiated, the function is
ApplyYourself, Inc., 418 F.3d   and “storing”                  performed by a machine without the need for manually performing that function”
1225 (Fed. Cir. 2005)                                          or as described by the Federal Circuit (“without human intervention”) (at 1236)

Whitserve, LLC v. Comput.       “automatically” “querying,”    No dispute of the District Court’s construction of “once initiated, is performed by
Packages, Inc., 694 F.3d 10     “generating, “transmitting”    a machine without the need for manually performing that process, that is without
(Fed. Cir. 2012)                and “receiving”                the need for human intervention.” (at 8-10)

Rembrandt Patent                No explicit recitation of      “Automated” should be included in the claims because of its description as the
Innovations, LLC v. Apple,      “automatic” in the claims      “present invention,” which it understood to mean “without human intervention.”
Inc., 716 F. App’x 965 (Fed.                                   Also found support in the prosecution history distinguishing prior art as requiring
Cir. 2017)                                                     human intervention (at 971-72)

Sky Techs. LLC v. IBM, Inc.,    “automated negotiations        Determined “the ordinary meaning of ‘automated’ to mean without human
2005 U.S. Dist. LEXIS 47689     engine”                        intervention” (at *33)
(E.D. Tex. Sept. 6, 2005)

Phoenix Licensing, LLC v.       “automatically”                Construed as “performed by a computer without input from a human” because of
Advance Am., U.S. Dist.                                        the use of “automatically” in the specification and statements during the
LEXIS 147141 (E.D. Tex. Oct.                                   prosecution distinguishing human input (at *127)
24, 2016)


                                                                                                                                                      47
The Specification Describes the Steps of Generating Are
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      Performed by a Computer – Not a Human
                           Abstract & Summary of invention use the same language,
                            described as the “present invention” – “automatically
                            generating” a second specialized speech recognizer from
                            a first                                     Abstract, 2:31-34

                           Specification describes that the “present invention”
                            makes use of a computer to “carry[] out the methods
                            described.”                                         3:9-21

                           Only description in the specification likewise shows the
                            steps are performed by a computer            Fig. 1; Col. 7-8
                               No reference to a human performing steps of the generation
                               Collection of training data may or may not involve a human, however:
                                        It occurs prior to generation, already collected for adaptation                 7:27-36
                                        Not within the scope of the claim. Claims just require the collected data (“based on”)
                                 No support for suggestion that the setting of thresholds (7:66-8:3) and
                                  acoustic model parameter adaptation (element 4) done by a human
                                        Just the opposite, spec shows a computer doing so
                                        Also consistent with the dependent claims (5, 6): both steps of the “automatic” generation


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